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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter 11
TRIAD GUARANTY INC., Case No. 13-11452 (MFW)

Debtor. Re: D.I. Ney

FINAL ORDER AUTHORIZING DEBTOR’S THIRD MOTION
TO INCUR ADDITIONAL POSTPETITION DEBT

This matter came before this Court on the Debtor’s Third Motion for a
Final Order Authorizing Debtor to Incur Additional Postpetition Debt (the “Motion,”
and all undefined terms herein having the meanings set forth in the Motion), requesting
that this Court enter an order authorizing the Debtor to (a) incur additional Postpetition
Debt; and (b) grant adequate protection and other relief to the DIP Lender.

This Order constitutes findings of fact and conclusions of law under
Bankruptcy Rule 7052 and will take effect and be fully enforceable as of the date of
entry of this Order.

Having examined the Motion, being fully advised of the relevant facts
and circumstances surrounding the Motion, and having completed a hearing pursuant
to Bankruptcy Code sections 363 and 364 and Bankruptcy Rules 4001(c), and
objections, if any, having been withdrawn, resolved, or overruled by the Court,

THE MOTION IS GRANTED AS SET FORTH HEREIN, AND THE
COURT HEREBY FINDS THAT:

A. On the Petition Date, the Debtor filed a voluntary petition for

relief under chapter 11 of the Code. The Debtor has retained possession of its property

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and continues to operate its business as debtor in possession pursuant to Bankruptcy
Code sections 1107 and 1108.

B. The Court has jurisdiction over this Case and this proceeding
under section 1334 of title 28 of the United States Code. Determination of the Motion
constitutes a core proceeding as defined in section 157(b)(2) of title 28 of the United
States Code. Venue over the Motion is proper under section 1409(a) of title 28 of the
United States Code.

C. No Committee has been appointed in this Case.

D. The Debtor admits, stipulates, and agrees that:

(a) The Debtor needs to incur Postpetition Debt in order to
prevent immediate and irreparable harm to its estate.

(b) The Debtor is unable to obtain credit without the
granting of superpriority administrative status allowable under Bankruptcy Code
section 503(b)(1) in the amount of $400,000.

(c) Except as provided below, the Debtor is unable to obtain
credit allowable under Bankruptcy Code section 364(c)(1) on terms more favorable
than those offered by the DIP Lender. An immediate need exists for the Debtor to
obtain funding in order to fund its chapter 11 plan and pay administrative expenses,
director and officer liability insurance, and fees incurred and payable to the Office of
the United States Trustee, as well as to administer and preserve the value of its estate.

(d) The Debtor does not have sufficient cash resources to
fund a viable chapter 11 plan of reorganization or pay the expenses necessary to

prepare and obtain confirmation of the plan.

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(e) The terms of the Postpetition Debt have been negotiated
at arm’s length, and the Postpetition Debt is being extended in good faith, as that term
is used in Bankruptcy Code section 364(e).

(f) The terms and conditions of the Note are fair and
reasonable, the best available to Debtor under the circumstances, reflect Debtor’s
exercise of prudent business judgment consistent with its fiduciary duties, and are
supported by reasonably equivalent value and consideration.

(g) | Under the circumstances of this case, this Order is fair
and reasonable, and the entry of this Order is in the best interest of Debtor’s estate and
its creditors.

E. The notice provided by Debtor of the Motion, the hearing on the
Motion, and the entry of this Order satisfy the requirements of Bankruptcy Rules
4001(c) and 9014, and Bankruptcy Code sections 102(1), 363, and 364(c) and (d), and
were otherwise sufficient and appropriate under the circumstances.

WHEREFORE, IT IS HEREBY ORDERED THAT:

1) Authorization to Incur Postpetition Debt.

(a) Postpetition Documents. Subject to the terms of this
Order, the Debtor is authorized and has agreed to: (1) execute the Note and any other
documents that the DIP Lender finds reasonably necessary or desirable to implement
the transactions contemplated by the Note; and (2) perform its obligations under, and
comply with, all of the terms and provisions of the Note and this Order.

(b) Upon execution and delivery thereof, the Note will

constitute valid and binding obligations of the Debtor enforceable in accordance with

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its terms. To the extent that there are any conflicts among the terms of the Motion, the
- Note, and this Order, this Order will govern and control.
(c) Certain Additional Material Terms of Postpetition Debt.
(i) Maximum Amount. The maximum principal amount of
Postpetition Debt outstanding under the Note may not
at any time exceed $400,000.
(ii) Interest. The Postpetition Debt will bear interest at the
rate of 10% per annum.
(iii) Closing Fee. There will be no closing fee.
(iv) Maturity. The Postpetition Debt will mature and
become due and payable in full by the Debtor on the
Maturity Date.
(d) Superpriority Administrative Expense Status. The
Postpetition Debt is hereby granted superpriority administrative expense status under
Bankruptcy Code section 364(c)(1), with priority over all costs and expenses of
administration of the Case that are incurred under any provision of the Bankruptcy
Code, except that such superpriority administrative expense status shall be subject and
junior to (i) the superpriority claim, granted by this Court’s order of May 9, 2017 (the
“Tax Payment Order”), granting superpriority status to the claims of TGIC and/or
TGAC (as they are defined the Tax Payment Order) to the extent of any Overpayment
_(as defined in the Tax Payment Order); and (ii) the Carveout.
(e) Carveout. The superpriority administrative expense claim

granted to the DIP Lender is subject only to the right of payment of statutory fees

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payable to the U.S. Trustee pursuant to section 1930(a)(6) of title 28 of the United
States Bankruptcy Code with respect to the Debtor and the Carve-Out (as defined in
the Note in respect of the Debtor’s proposed counsel, Shaw Fishman Glantz & Towbin
LLC; provided, however, the Carveout shall be junior in priority to the Superpriority
Claim granted in the Tax Payment Order.

2) Amendments. The Debtor and the DIP Lender may enter into
amendments or modifications of the Note without any further notice, hearing, or order
of this Court; provided, however, that (a) such modifications or amendments do not
materially and adversely affect the rights of any creditor or other party-in-interest and
(b) notice of any such amendment or modification is filed with this Court and provided
to the parties filing requests for notice under Bankruptcy Rule 2002 and the office of
the United States Trustee. Any party may request a hearing within five (5) business
days of receipt of such notice to assert that any such amendment or modification
materially and adversely affects the rights of any creditor or other party-in-interest.

3) Binding Effect. This Order is binding on all parties in interest in
the case and their respective successors and assigns, including, without limitation, any
_ Trustee, except that any Trustee will have the right to terminate this Order after notice
and a hearing, subject to the terms and conditions of this Order.

4) If, in accordance with Bankruptcy Code section 364(e), this
Order does not become a final nonappealable order, if a Trustee terminates this Order,
or if any of the provisions of this Order are hereafter modified, amended, vacated, or
stayed by any subsequent order of this Court or any other court, such termination or

subsequent order will not affect: (a) the stipulations, representations, and findings

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contained in this Order and the relief granted by this Order; and (b) the Postpetition
Debt incurred, prior to the effective date of such termination or subsequent order.

5) All such claims and other benefits will be governed in all
respects by the original provisions of this Order, and the DIP Lender will be entitled to
all of the rights, remedies, privileges, and benefits granted herein, including, without
limitation, the priorities granted herein with respect to the Postpetition Debt.

6) Except as otherwise explicitly set forth in this Order, no third
party is intended to be, or may be deemed to be, a third party beneficiary of this Order.

7) Survival. The provisions of this Order, and any actions taken
pursuant to or in reliance upon the terms hereof, will survive entry of, and govern in
the event of any conflict with, any order that may be entered in the case: (a) confirming

any chapter 11 plan, (b) converting the case to a case under chapter 7 of the
| Bankruptcy Code, (c) dismissing the Bankruptcy Case, (d) withdrawing of the
reference of the Bankruptcy Case from this Court, or (e) providing for abstention from
handling or retaining of jurisdiction of the Bankruptcy Case in this Court. The terms
and provisions of this Order, including, without limitation, the rights granted to the DIP
Lender under Bankruptcy Code sections 364(c) and (d), will continue in full force and
effect until all of the Postpetition Debt is indefeasibly paid in full in cash and

discharged.

 

Dated: Sp \ _, 2017 Mou SQN

The Honorabje Mary F. Walrath
United States Bankruptcy Judge

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